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                Exhibit D
10/21/2020          Case 2:19-cv-05030-JDW Document    64-4
                                               Mail - Seth      Filed
                                                           Carson        10/22/20 Page 2 of 8
                                                                  - Outlook



       Re: MEF Deps - Third Notice
       Sidney Gold <sgold@discrimlaw.net>
       Wed 6/17/2020 3:07 PM
       To: Shana Washington <shana@dereksmithlaw.com>
       Cc: Bill Rieser <brieser@discrimlaw.net>; Walton, David <DWalton@cozen.com>; Benson, Leigh Ann <LBenson@cozen.com>;
       Seth Carson <seth@dereksmithlaw.com>
       i am sorry but my client and I are only available at 4pm on Thursday and we have a hard stop at 6pm

       Sent from my iPhone


             On Jun 17, 2020, at 12:45 PM, Shana Washington <shana@dereksmithlaw.com> wrote:



             Good Afternoon,

             Please see the updated third notices of deposition.

             Shana Washington
             PA Ac ve Notary
             Paralegal - Philadelphia

             DEREK SMITH LAW GROUP, PLLC
             A orneys at Law
             Employment Lawyers Represen ng Employees Exclusively
             Toll Free No. (800) 807-2209
             Discrimina onAndSexualHarassmentLawyers.com (website)
             Philadelphia Oﬃce: 1835 Market Street, Suite 2950, Philadelphia, PA 19103 | (215) 391-4790
             Philadelphia Fax: (215) 893-5288
             NYC Oﬃce: One Penn Plaza, Suite 4905, New York, NY 10119 | (212) 587-0760
             NJ Oﬃce: 73 Forest Lake Drive, West Milford, NJ 07421 | (973) 388-8625
             Miami Oﬃce: 701 Brickell Avenue, Suite 1310, Miami, FL 33131 | (305) 946-1884
             email: shana@dereksmithlaw.com

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             From: Sidney Gold <sgold@discrimlaw.net>
             Sent: Wednesday, June 17, 2020 12:27 PM
             To: Shana Washington <shana@dereksmithlaw.com>
             Cc: Walton, David <DWalton@cozen.com>; Benson, Leigh Ann <LBenson@cozen.com>; Bill Rieser
             <brieser@discrimlaw.net>; Seth Carson <seth@dereksmithlaw.com>
             Subject: Re: MEF Deps - Third No ce

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10/21/2020         Case 2:19-cv-05030-JDW Document    64-4
                                              Mail - Seth      Filed
                                                          Carson        10/22/20 Page 3 of 8
                                                                 - Outlook


             please move Gregg Roman and Benne to Thursday

             Sent from my iPhone



                   On Jun 17, 2020, at 12:24 PM, Shana Washington <shana@dereksmithlaw.com> wrote:


                   Good Afternoon,

                   Please see attached.

                   Shana Washington
                   PA Ac ve Notary
                   Paralegal - Philadelphia

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                   Miami Oﬃce: 701 Brickell Avenue, Suite 1310, Miami, FL 33131 | (305) 946-1884
                   email: shana@dereksmithlaw.com

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                   From: Shana Washington
                   Sent: Monday, June 1, 2020 1:07 PM
                   To: Walton, David <DWalton@cozen.com>; Seth Carson <seth@dereksmithlaw.com>
                   Cc: Bill Rieser <brieser@discrimlaw.net>; Benson, Leigh Ann <LBenson@cozen.com>;
                   Sid Gold <sgold@discrimlaw.net>; Cavalier, Jonathan <JCavalier@cozen.com>
                   Subject: RE: MEF - depos

                   Good Afternoon,

                   Please see the attached notices of depositions.

                   Shana Washington
                   PA Ac ve Notary
https://outlook.office.com/mail/search/id/AAQkAGEwMGIwNDhmLWIyMTYtNGE5Mi1iNjdlLTE4NDgwNzM1YzIyMQAQAJA3LJN3k0xGq8QJG8mPBIM…   2/7
10/21/2020         Case 2:19-cv-05030-JDW Document    64-4
                                              Mail - Seth      Filed
                                                          Carson        10/22/20 Page 4 of 8
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                   Paralegal - Philadelphia

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                   Miami Oﬃce: 701 Brickell Avenue, Suite 1310, Miami, FL 33131 | (305) 946-1884
                   email: shana@dereksmithlaw.com

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                   error and then delete it. Thank you.
                   ___________________________________________________________

                   From: Walton, David <DWalton@cozen.com>
                   Sent: Wednesday, May 20, 2020 9:22 PM
                   To: Seth Carson <seth@dereksmithlaw.com>
                   Cc: Shana Washington <shana@dereksmithlaw.com>; Bill Rieser
                   <brieser@discrimlaw.net>; Benson, Leigh Ann <LBenson@cozen.com>; Sid Gold
                   <sgold@discrimlaw.net>; Cavalier, Jonathan <JCavalier@cozen.com>
                   Subject: Re: MEF - depos

                   I think Hollin and Levy are available then but please let me verify.

                   Dave Walton
                   Sent from my iPhone


                          On May 20, 2020, at 8:33 PM, Seth Carson <seth@dereksmithlaw.com>
                          wrote:


                          **EXTERNAL SENDER**

                          Yes. I can do Bennett on 6/11 and Mark Fink on 6/11. It
                          sounds like I can also do the two Steven Levy and
                          Laurence Hollin on 6/11.

                          We will notice you for the following:

                          Daniel Pipes: June 10, 2020 beginning at 10:00 A.M.
https://outlook.office.com/mail/search/id/AAQkAGEwMGIwNDhmLWIyMTYtNGE5Mi1iNjdlLTE4NDgwNzM1YzIyMQAQAJA3LJN3k0xGq8QJG8mPBIM…   3/7
10/21/2020         Case 2:19-cv-05030-JDW Document    64-4
                                              Mail - Seth      Filed
                                                          Carson        10/22/20 Page 5 of 8
                                                                 - Outlook



                          Mark Fink: June 11, 2020 beginning at 10:00 A.M.

                          Mathew Bennett June 11, 2020 beginning at Noon.

                          Steven Levy June 11, 2020 beginning at 2:00 P.M.

                          Lawrence Hollin June 11, 2020 beginning at 4:00 P.M.

                          If you want to do them in another order or if you want to
                          switch days that week, please let me know.

                          I need to get Greg Roman on the calendar and I would
                          prefer not to do Greg Roman in the same couple day
                          period of time.

                          Can you please give me a date for Greg Roman for the
                          week of June 1 through June 5, 2020.


                          Seth D. Carson, Esquire
                          Derek Smith Law Group, PLLC
                          1835 Market Street
                          Suite 2950
                          Philadelphia, PA 19103
                          Phone: 215.391.4790
                          Facsimile: 215.893.5288
                          Direct: 484.678.2210
                          Email: Seth@DerekSmithLaw.com

                          ___________________________________________________
                          ________
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                          in error and then delete it. Thank you.
                          ___________________________________________________
                          ________




                          From: Walton, David <DWalton@cozen.com>
                          Sent: Wednesday, May 20, 2020 8:08 PM
https://outlook.office.com/mail/search/id/AAQkAGEwMGIwNDhmLWIyMTYtNGE5Mi1iNjdlLTE4NDgwNzM1YzIyMQAQAJA3LJN3k0xGq8QJG8mPBIM…   4/7
10/21/2020         Case 2:19-cv-05030-JDW Document    64-4
                                              Mail - Seth      Filed
                                                          Carson        10/22/20 Page 6 of 8
                                                                 - Outlook

                          To: Seth Carson <seth@dereksmithlaw.com>
                          Cc: Bill Rieser <brieser@discrimlaw.net>; Benson, Leigh Ann
                          <LBenson@cozen.com>; Sid Gold <sgold@discrimlaw.net>; Cavalier,
                          Jonathan <JCavalier@cozen.com>
                          Subject: Re: MEF - depos

                          Daniel 6-10 and Marc 6-11? Could you do Benne on 6-11 too?

                          Dave Walton
                          Sent from my iPhone


                                 On May 20, 2020, at 6:59 PM, Seth Carson
                                 <seth@dereksmithlaw.com> wrote:


                                 **EXTERNAL SENDER**

                                 I do not know how long I need with Mark but I
                                 know I need all day with Daniel Pipes. So no.
                                 I do not want to schedule any deps the same
                                 day as Daniel Pipes or Greg Roman.

                                 Can you please give me the date for Greg
                                 Roman's deposition?

                                 I gave you 10 days in the two week period of
                                 June 1 to June 12, 2020.


                                 Seth D. Carson, Esquire
                                 Derek Smith Law Group, PLLC
                                 1835 Market Street
                                 Suite 2950
                                 Philadelphia, PA 19103
                                 Phone: 215.391.4790
                                 Facsimile: 215.893.5288
                                 Direct: 484.678.2210
                                 Email: Seth@DerekSmithLaw.com

                                 __________________________________________
                                 _________________
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10/21/2020         Case 2:19-cv-05030-JDW Document    64-4
                                              Mail - Seth      Filed
                                                          Carson        10/22/20 Page 7 of 8
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                                 sender that you have received this communication in
                                 error and then delete it. Thank you.
                                 __________________________________________
                                 _________________




                                 From: Walton, David <DWalton@cozen.com>
                                 Sent: Tuesday, May 19, 2020 7:41 PM
                                 To: Seth Carson <seth@dereksmithlaw.com>
                                 Cc: Bill Rieser <brieser@discrimlaw.net>; Benson, Leigh Ann
                                 <LBenson@cozen.com>; Sid Gold <sgold@discrimlaw.net>;
                                 Cavalier, Jonathan <JCavalier@cozen.com>
                                 Subject: MEF - depos

                                 Seth

                                 Please conﬁrm that Ms. Brady will be available for the
                                 con nua on of her deposi on this Friday, May 22. Also,
                                 please let us know when Ms. Yonchek is available for the
                                 con nua on of her deposi on. We would like dates for next
                                 week.

                                 Daniel Pipes is available on June 11 for his deposi on.
                                 Would you like to schedule Marc Fink for the same day?

                                 Thank you.

                                 Dave

                                 Dave Walton
                                 Sent from my iPhone


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                                 contain informa on that is conﬁden al and protected by
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                   other privilege.
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                   <3rd No ce of Deposi on for PIPES, BENNETT, & LEVY.pdf>
             <3rd UPDATED Notice of Deposition for PIPES, FINK, & HOLLIN.pdf>
             <3rd UPDATED Notice of Deposition for ROMAN, BENNETT, & LEVY.pdf>




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